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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Display Technologies, LLC,                       Case No. 21-cv-2458 (SRN/DTS)


       Plaintiff,                                NOTICE OF AND ORDER FOR
v.                                               PRETRIAL CONFERENCE

Arkray USA, Inc.,

       Defendant.


      Pursuant to Rule 16(a) of the Federal Rules of Civil Procedure, a pretrial
conference will be held before United States Magistrate Judge David T. Schultz on
February 22, 2022 at 10:00 a.m. in Courtroom 9E in the United States Courthouse, 300
South Fourth Street, Minneapolis, Minnesota.

                                   Meeting of Counsel

        Counsel must meet before the scheduled pretrial conference pursuant to
Rule 26(f) of the Federal Rules of Civil Procedure under Local Rule 26.1. At the meeting
counsel shall consider and discuss each item on the Rule 26(F) report form attached. No
later than seven days prior to the pretrial conference, the parties must prepare and
file a joint Rule 26(f) Report in using the attached Rule 26(f) template. A copy of the
26(f) Report in Word format should be emailed to Magistrate Judge Schultz at
Schultz chambers@mnd.uscourts.gov at the time of the joint filing.

      To the extent that the parties cannot reach agreement on any particular item
regarding scheduling or discovery, they should set forth their separate positions in the
Rule 26(f) Report for discussion at the pretrial conference.

                           Consent to the Magistrate Judge

      If both parties consent to trial by the magistrate judge pursuant to 28 U.S.C.
§ 636(c) they must provide the information included on the Rule 26(F) report, execute the
attached consent form and electronically file said form pursuant to Section II, Part F, of
the ECF Procedures for the District of Minnesota (Civil). Consent to the jurisdiction of the
Magistrate Judge does not waive any party’s right to a jury trial or to an appeal.

                                    Settlement Letter

      In addition to the Rule 26(f) Report, each party must email to Magistrate Judge
Schultz’s chambers, at least five days prior to the pretrial conference, a 1-2 page
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confidential letter setting forth what settlement discussions have taken place, whether the
party believes an early settlement conference would be productive, and what discovery
or motion practice might be needed prior to such a conference.

                                Telephonic Appearances

      In-person appearances at the Rule 16 conference are strongly favored. Any
request to participate by telephone must be made by contacting Judicial Assistant,
Terianne, at 612-664-5460, no later than three business days prior to the pretrial
conference.

                                  Unrepresented Parties

        If any party does not have counsel of record in this case, it is the responsibility of
counsel to immediately notify that party of this conference and of the requirements set
forth in this notice.

                                           Other

       Counsel should contact Magistrate Judge Schultz’s Judicial Assistant, Terianne,
at 612-664-5460, with respect to any matters concerning the pretrial conference.



Dated: December 28, 2021                           ___s/David T. Schultz_______
                                                   DAVID T. SCHULTZ
                                                   United States Magistrate Judge




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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


x,                                                 Case No. x-cv-x (x/DTS)

              Plaintiff,

v.                                                 RULE 26(F) REPORT

x,

              Defendant.



      The parties/counsel identified below conferred as required by Fed. R. Civ. P. 26(f)
and the Local Rules on ___________________ and prepared the following report.

      The initial pretrial conference required under Fed. R. Civ. P. 16 and LR 16.2 is
scheduled for x x, at x a.m. before United States Magistrate Judge David T. Schultz in
Courtroom 9E, United States Courthouse, 300 South Fourth Street, Minneapolis,
Minnesota.

        Counsel have reviewed the amendments to the Federal Rules of Civil Procedure
effective December 1, 2015 and are familiar with the amendments.

                             TRIAL BY MAGISTRATE JUDGE

       28 U.S.C. § 636(c) permits parties to consent to the jurisdiction of the magistrate
judge for all pre-trial and trial proceedings. Parties who consent to the magistrate judge
do not waive their right to a jury trial or their right to appeal directly to the Eighth Circuit
from any judgment that is entered. They will also retain the ability to engage in a
settlement conference presided over by a magistrate judge in this district. If the parties
consent and to the magistrate judge they may request a date certain for trial set at the
Rule 16 conference, and a date certain for trial will be set at that time.

      The parties do/do not consent to jurisdiction of the magistrate pursuant to 28
U.S.C. § 636(c).

      The parties do/do not wish to receive a date certain for trial at the Rule 16(a)
conference?




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                     DESCRIPTION OF THE CASE

1.    Concise factual summary of Plaintiff’s claims:

2.    Concise factual summary of Defendant’s claims/defenses:

3.    Statement of jurisdiction (including statutory citations):

4.    Summary of factual stipulations or agreements:

5.    Statement of whether a jury trial has been timely demanded by any party:

6.    Statements as to whether the parties agree to resolve the matter under the
      Rules of Procedure for Expedited Trials of the United States District Court,
      District of Minnesota, if applicable:

                               PLEADINGS

Statement as to whether all process has been served, all pleadings filed and any
plan for any party to amend pleadings or add additional parties to the action:

                            FACT DISCOVERY

The parties request the Court to establish the following fact discovery deadlines
and limitations:

1.    The parties must make their initial disclosures under Fed. R. Civ. P. 26(a)(1)
      on or before ___________________. If the parties include a description by
      category and location of documents, they agree to exchange copies of
      those initially disclosed.

2.    The parties must complete any physical or mental examinations under Fed.
      R. Civ. P. 35 by ___________________.

3.    The parties must commence fact discovery procedures in time to be
      completed by ___________________.

4.    The parties have discussed the scope of discovery, including relevance and
      proportionality, and propose that the Court limit the use and numbers of
      discovery procedures as follows:

      a.     _______ interrogatories;

      b.     _______ document requests;




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     c.     _______ requests for admission. The parties have discussed a
            protocol for the authentication of documents and agree on the
            following:

     d.     _______ factual depositions:

     e.     _______ Rule 35 medical examinations; and

     f.     The parties have discussed the topic of Rule 30(b)(6) deposition
            practice and have made the following agreements: ____________ .

                         EXPERT DISCOVERY

1.   The parties anticipate that they [will/will not] require expert witnesses at the
     time of trial.

     a.     The Plaintiff anticipates calling _______ (number) experts in the
            fields of:

     b.     The Defendant anticipates calling _______ (number) experts in the
            fields of:

2.   The parties propose that the Court establish the following plan for expert
     discovery:

     a.     Expert Disclosures

             (i)   The identity of any expert who Plaintiff may call to testify at
                   trial and the written report completed in accordance with Fed.
                   R. Civ. P. 26(a)(2)(B) and/or the disclosure required by Fed.
                   R. Civ. P. 26(a)(2)(C) must be served on or before
                   ___________________.

            (ii)   The identity of any expert who Defendant may call to testify at
                   trial and the written report completed in accordance with Fed.
                   R. Civ. P. 26(a)(2)(B) and/or the disclosure required by Fed.
                   R. Civ. P. 26(a)(2)(C) must be served on or before
                   ___________________.

3.   All expert discovery, including expert depositions, must be completed by
     ___________________.




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                      OTHER DISCOVERY ISSUES

1.    Protective Order

      The parties have discussed whether they believe that a protective order is
      necessary to govern discovery and jointly submit a [proposed protective
      order/report identifying any areas of disagreement]. Local Rule 5.6 governs
      filing under seal. Therefore, any proposed protective order must include the
      following provisions: All counsel acknowledge they have reviewed Local
      Rule 5.6 which governs filing under seal, which procedures are incorporated
      herein by reference.

2.    Discovery of Electronically-Stored Information

      The parties have discussed the scope of electronic discovery, including
      relevance and proportionality, and any issues about preserving electronic
      discovery. The parties have also discussed the form or forms in which
      electronic discovery should be produced. They inform the Court of the
      following agreements or issues:

      The parties will further meet and confer by ___________________ to
      discuss their plan or formal protocol for electronic discovery. They agree to
      present any disputes regarding an electronic discovery plan and protocol to
      the Court by ___________________.


3.    Claims of Privilege or Protection

      The parties have discussed issues regarding the protection of information
      by a privilege or the work-product doctrine, as required by Fed. R. Civ.
      P. 26(f)(3)(D), including whether the parties agree to a procedure to assert
      these claims after production or have any other agreements under Fed. R.
      Evidence 502 and:

      a.     Request the Court to include the following agreement in the
             scheduling order; or

      b.     Will include their agreement in their proposed Protective Order.

                          MOTION SCHEDULE

The parties proposed the following deadlines for filing motions:

1.    Motions seeking to join other parties must be filed and served by
      ___________________.



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         2.    Motions seeking to amend the pleadings must be filed and served by
               ___________________.

         3.    Non-Dispositive Motions

               a.     All non-dispositive motions relating to fact discovery must be filed
                      and served by ___________________.

               b.     All other non-dispositive motions, including motions relating to expert
                      discovery, must be filed and served by ___________________.

         4.    Dispositive Motions: All dispositive motions must be served and filed by
               ___________________.

                                           TRIAL

         1.    The parties agree that the case will be ready for trial on or after
               ___________________.

         2.    The anticipated length of the [bench/jury-select one] trial is _______ days.

                         INSURANCE CARRIERS/INDEMNITORS

         List all insurance carriers/indemnitors, including limits of coverage of each
         defendant or statement that the Defendant is self-insured.

                                      SETTLEMENT

         The parties have discussed settlement before or at the Rule 26(f) meet-and-confer
         and each party will e-mail a confidential letter setting forth what settlement
         discussions have taken place and whether the parties believes an early settlement
         conference would be productive.

         The parties proposed that a settlement conference be scheduled to take place
         before ___________________.



Dated:
                                                   Plaintiff’s Counsel
                                                   License No.
                                                   Address:


                                                   Phone:


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Dated:
                                          Defendant’s Counsel
                                          License No.
                                          Address:


                                          Phone:




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